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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

KABBAGE, INC. d/b/a KSERVICING, et al.,1                    Case No. 22-10951 (CTG)

                         Debtors.                           (Jointly Administered)


                    MOTION AND ORDER FOR PRO HAC VICE ADMISSION

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the
admission pro hac vice of John D. Penn, Esq., of the law firm Perkins Coie LLP, to represent the
post-confirmation Debtors, operating as the Wind Down Estates under terms of the Amended Joint
Chapter 11 Plan of Liquidation of Kabbage, Inc. (d/b/a KServicing) and Its Affiliated Debtors,
dated March 9, 2023 [Docket No. 627] (as amended, modified, or supplemented in accordance
with its terms) in the above-captioned chapter 11 cases.

    Dated: July 10, 2023                                   /s/ Eric J. Monzo
                                                           Eric J. Monzo (DE Bar No. 5214)
                                                           MORRIS JAMES LLP
                                                           500 Delaware Avenue, Suite 1500
                                                           Wilmington, Delaware 19801
                                                           Telephone: (302) 888-6800
                                                           Facsimile: (302) 571-1750
                                                           E-mail: emonzo@morrisjames.com

                                         ORDER GRANTING MOTION

           IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




    Dated: July 12th, 2023                   CRAIG T. GOLDBLATT
    Wilmington, Delaware                     UNITED STATES BANKRUPTCY JUDGE



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable are: Kabbage, Inc. d/b/a KServicing (3937); Kabbage Canada Holdings, LLC (N/A); Kabbage
Asset Securitization LLC (N/A); Kabbage Asset Funding 2017-A LLC (4803); Kabbage Asset Funding 2019-A LLC
(8973); and Kabbage Diameter, LLC (N/A). Kabbage is a trademark of American Express used under license;
Kabbage, Inc. d/b/a KServicing is not affiliated with American Express. The Debtors’ mailing and service address is
925B Peachtree Street NE, Suite 383, Atlanta, GA 30309.


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